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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA             :
                                     :   No. 3:07 Cr. 12 (JCH)
     v.                              :
                                     :
PETRU BOGDAN BELBITA,                :
                                     :
                  Defendant.         :

               STIPULATION AND ORDER REGARDING DISCOVERY

          WHEREAS, on or about January 18, 2007, defendant Petru

Bogdan Belbita (the "Defendant") was indicted in the above-

captioned matter by a grand jury empaneled in the District of

Connecticut;

          WHEREAS, on or about May 15, 2008, the Defendant was

also indicted by a grand jury empaneled in the Central District

of California, the matter captioned United States v. Hiep Thanh

Tran et al., Crim. No. 08-584;

          WHEREAS the United States of America ("Government")

represents that it has submitted applications to extradite the

Defendant from Canada with respect to both indictments;

          WHEREAS the Court appointed Sebastian O. DeSantis,

Esq., to represent the Defendant, and Attorney DeSantis entered

his appearance on or about February 27, 2009;

          WHEREAS the Government is prepared to disclose

documents and other materials in accordance with its discovery

obligations (the "Discovery Materials") that contain private

personal and financial information of alleged crime victims; and
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          WHEREAS the Government represents that the documents

and other materials that it is required to disclose are so

voluminous that it would not be practicable to redact private

personal and financial information of alleged crime victims;

          NOW, THEREFORE, pursuant to Rule 16(d)(1) of the

Federal Rules of Criminal Procedure, the Government and the

Defendant hereby stipulate and agree as follows:

          1.    As used herein, the term "private personal and

financial information" shall include any "means of

identification," as defined in 18 U.S.C. § 1028(d)(7), of any

individual referenced in the Discovery Materials other than the

Defendant, a co-defendant, or a co-conspirator.

          2.    As used herein, the term "these proceedings"

refers to the pending criminal proceedings against the Defendant

in the District of Connecticut and the Central District of

California.

          3.    The Government shall identify to counsel for the

Defendant, in writing, any of the Discovery Materials that are

believed by the Government to contain private personal and

financial information (the "Protected Discovery Materials").               The

term "Protected Discovery Materials" shall also include: (a) any

Discovery Materials that are actually known by counsel for the

Defendant to contain private personal and financial information,

and (b) any notes, reports, or other documents that are produced


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or prepared in connection with this matter that contain any

private personal and financial information.

          4.    Counsel for the Defendant shall be responsible

for, and shall retain possession and control of, the Protected

Discovery Materials.    Copies of the Protected Discovery Materials

may be provided to expert witnesses or other litigation

consultants specifically retained to assist counsel for the

Defendant in these proceedings, but only after such witnesses or

consultants have been provided with a copy of this Stipulation

and Order and agreed to abide by the terms thereof.

          5.    Counsel for the Defendant may review and discuss

the Protected Discovery Materials with the Defendant, but the

Defendant may not keep possession of the Protected Discovery

Materials at any time.

          6.    The Protected Discovery Materials may be used

solely for the purpose of representing the Defendant in these

proceedings.

          7.    Any court filing in these proceedings that refers

to private personal and financial information shall be redacted

in accordance with Local Criminal Rule 57(b)(1) or, if such

redaction is impracticable and if permission is granted by the

Court, filed under seal.

          8.    Counsel for the Defendant and any other individual

possessing any Protected Discovery Materials shall destroy the


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materials or return them to the Government after judgments in

these proceedings have become final or after there is no longer a

legitimate purpose served in retaining the materials, whichever

is earlier.


                                        NORA R. DANNEHY
                                        ACTING UNITED STATES ATTORNEY




/s/ Sebastian O. DeSantis          By: /s/ Edward Chang
SEBASTIAN O. DESANTIS, ESQ.            EDWARD CHANG
Attorney for the Defendant             Assistant United States Attorney
P.O. Drawer 191                        157 Church St., 23rd floor
345 State St.                          New Haven, CT 06510
New London, CT 06320




IT IS SO ORDERED
     30th day of May, 2009: April, 2009
this ____


     /s/ Janet C. Hall
HON. JANET C. HALL
UNITED STATES DISTRICT JUDGE




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                        CERTIFICATE OF SERVICE

          Pursuant to Title 28, United States Code, Section 1746,
and Rule 5(b) of the Local Civil Rules of the United States
District Court for the District of Connecticut, I hereby certify
that a copy of the document(s) listed below:

     Government's Motion for Protective Order

was filed electronically and was served by electronic mail on the
following parties:

     Sebastian O. DeSantis, Esq.
     Sabilia & DeSantis, LLC
     P.O. Drawer 191
     New London, CT 06320

Notice of this filing will be sent by email to anyone unable to
electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court's
CM/ECF System.

          I certify under penalty of perjury that the foregoing
is true and correct.

Dated:    April 29, 2009


                                  /s/ Edward Chang
                                  EDWARD CHANG
